                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES OF AMERICA

               v.
                                             Crim. No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,


               Defendant.


    GOVERNMENT’S TRIAL BRIEF REGARDING THE ADMISSIBILITY OF
        EVIDENCE THAT DEFENDANT FAILED TO FILE FBARS FOR
FOREIGN BANK ACCOUNTS OWNED OR CONTROLLED BY HIS U.S. BUSINESSES

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this trial brief regarding the admissibility of evidence that defendant Paul J. Manafort,

Jr. (“Manafort”) failed to file foreign bank account reports (FBARs) for foreign bank accounts

owned or controlled by his U.S. businesses, specifically Davis Manafort Partners and DMP

International. That evidence is directly and intrinsically relevant to Manafort’s willful and

knowing intent to fail to file with the Treasury FBARs for the foreign bank accounts he owned or

controlled personally. Manafort opened the door to such evidence by presenting the defense that

the applicable FBAR rules are complex, his failures were the result of oversight, and that U.S.

corporations also have obligations to file FBARs.

       A.      Background

       On February 22, 2018, a grand jury in this district returned a superseding indictment

charging Manafort with tax and bank fraud crimes. See Doc. 9. Specifically, the indictment

charges Manafort with subscribing to false income tax returns (Counts 1-5); failing to file reports

of foreign bank accounts (Counts 11-14); and bank fraud conspiracy and bank fraud (Counts 24-


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32). The tax and FBAR offenses with which Manafort is charged require proof of a willful

scienter. See 26 U.S.C. § 7206(1); 31 U.S.C. § 5322(a).

        During his opening statement, defense counsel asserted that “the tax code and the FBAR

regulations are complicated. And so the law requires that an individual must know what the law

is and then intentionally and purposely violate that law. That is what willfulness is. If a person

has a good faith belief that they are not violating the law, even if that belief is incorrect, then he or

she is not guilty of a willful crime.” Tr. 7/31/18 at 44.

        Subsequently, during cross-examination of Paula Liss, defense counsel pursued a line of

inquiry seeking to show that the rules governing FBARs are complicated and that if Manafort did

not have signature authority over an account or own more than 50% of an account, he would not

have had to file an FBAR. Tr. 8/6/18 at 1081-1085. Defense counsel also asked multiple questions

about and elicited testimony regarding FBAR requirements for U.S. corporations. Id at 1083-84

(“It can be a corporation, correct?”; “So in terms of a corporation's filing requirements, and an

individual who owns a corporation, what is the rule in terms of ownership of the corporation in

order to require the filing of an FBAR?”).

        B.      Discussion

        Through his opening statement and cross-examination, Manafort has squarely put his intent

in issue. See United States v. Parker, 720 F. App’x 684, 691 (4th Cir. 2018) (unpublished)

(defendant put his mens rea at issue by contending that he acted in good faith). Accordingly, the

government is entitled to present evidence tending to make it more probable that Manafort acted

willfully rather than as the result of confusion or oversight. See Fed. R. Evid. 401 (evidence is

relevant if it has any tendency to make a fact more or less probable than it would be without the

evidence and the fact is of consequence in determining the action).



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       Evidence that Manafort failed to file FBARs not just for foreign bank accounts that he

personally owned or controlled but also for foreign bank accounts owned or controlled by his U.S.

companies does just that. The indictment alleges a scheme to hide income from United States

authorities while enabling the use and enjoyment of the money. In executing that scheme,

Manafort funneled millions of dollars in payments from foreign entities into numerous foreign

bank accounts, hid the existence and ownership of the foreign bank accounts by failing to file

FBARs, and falsely and repeatedly reported to his tax preparers and to the United States that he

had no foreign bank accounts. Manafort’s FBAR violations and tax violations were inextricably

linked: if he reported his foreign bank accounts, the falsity of his tax returns would have been

apparent; and if he filed accurate tax returns, the absence of FBARs would have come to light.

And, critically, Manafort had to refrain from filing FBARs not just for his foreign bank accounts

but also for foreign bank accounts owned or controlled by his U.S. businesses. Otherwise, his

scheme would have failed. The evidence is therefore admissible under Fed. R. Evid. 401 and is

not subject to the requirements of Fed. R. Evid. 404(b). See United States v. Palacios, 677 F.3d

234, 244-45 (4th Cir. 2012) (“Acts intrinsic to the alleged crime do not fall under Rule 404(b)’s

limitations on admissible evidence.”) (internal quotation marks omitted); United States v. Siegel,

536 F.3d 306, 316 (4th Cir. 2008) (same). “[E]vidence of other bad acts is intrinsic if, among other

things, it involves the same series of transactions as the charged offense, which is to say that both

acts are part of a single criminal episode.” United States v. Otuya, 720 F.3d 183, 188 (4th Cir.

2013) (citation and internal quotation marks omitted). Similarly, the evidence is intrinsic “if it is

necessary to complete the story of the crime on trial.” United States v. Kennedy, 32 F.3d 876, 885

(4th Cir. 1994) (alteration and internal quotation marks omitted). “Evidence is inextricably

intertwined with the evidence regarding the charged offense if it forms an integral and natural part



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of the witness’s accounts of the circumstances surrounding the offenses for which the defendant

was indicted.” United States v. Lighty, 616 F.3d 321, 352 (4th Cir. 2010) (brackets and internal

quotation marks omitted).

       Even though the Court previously concluded that evidence of Manafort’s failure to file

FBARs for his U.S. businesses was not relevant, the evidence became admissible once Manafort

opened the door by claiming that he failed to file FBARs due to the complicated regulatory

structure and his lack of knowledge that he had to file FBARs for accounts over which he did not

have signature authority. See United States v. McLaurin, 764 F.3d 372, 383 (4th Cir. 2014) (where

defendant opens door through a line of defense, even otherwise inadmissible evidence is

admissible to prove the defense claim less likely); United States v. Oliver, 653 F. App’x 735, 739

(11th Cir. 2016) (“inadmissible extrinsic evidence becomes admissible on redirect examination

where defense counsel ‘opens the door’ to the evidence during cross-examination”; “The

Government may elicit testimony on redirect that clarifies issues to which the defense has opened

the door on cross-examination.”).

       Manafort further opened the door by eliciting testimony, repeatedly, regarding the need for

U.S. corporations to file FBARs. See, e.g., Tr. 8/6/18 at 1084-85 (“So in terms of a corporation's

filing requirements, and an individual who owns a corporation, what is the rule in terms of

ownership of the corporation in order to require the filing of an FBAR?”; “So if it's 50 percent

ownership or less, they have no filing requirement?”). Defense counsel’s questions laid the

foundation to argue that it was Manafort’s U.S. companies, and not Manafort himself, that were

obligated to file under FBAR. That concern is particularly relevant because the government

intends to present evidence that Manafort acknowledged, pursuant to a subpoena, that some of the

foreign bank accounts at issue were the accounts of his U.S. company, DMP International.



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       In any event, even assuming evidence of Manafort’s failure to file FBARs for foreign bank

accounts owned or controlled by his U.S. businesses is extrinsic other-acts evidence to which he

did not open the door, it is admissible under Fed. R. Evid. 404(b). As discussed above, the

evidence is probative of Manafort’s intent, knowledge, absence of mistake, and lack of accident,

all of which Manafort has put at issue. See Fed. R. Evid. 404(b)(2). 1 The danger of unfair

prejudice does not, moreover, substantially outweigh the high probative value of the evidence.

Manafort is already charged with failing—and the jury is seeing evidence of his failure—to file

FBARs; that he failed to file additional FBARs is not likely to lead the jury to convict based on a

character assessment. See United States v. Queen, 132 F.3d 991, 997 (4th Cir. 1997) (evidence of

prior acts is admissible under Rules 404(b) and 403 if the evidence is (1) relevant to an issue other

than the general character of the defendant, (2) necessary, and (3) reliable, and (4) if the probative

value of the evidence is not substantially outweighed by its prejudicial effect). In any event, any

such risk can be minimized through a limiting instruction. See id. (a limiting jury instruction

explaining the purpose for admitting evidence of prior acts and advance notice of the intent to

introduce evidence of prior acts provide additional protection to defendants).

                                          CONCLUSION

       For the foregoing reasons, the government requests that the Court permit the government

to present evidence that Manafort failed to file FBARs with respect to foreign bank accounts

owned or controlled by his U.S. businesses – specifically Davis Manafort Partners and DMP

International.




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  Rule 404(b)(2)(B) generally requires the government to provide notice of Rule 404(b) evidence
before trial but permits notice during trial if the court, for good cause, excuses lack of pretrial
notice. The court should permit pretrial notice here because the significance of the evidence at
issue became apparent when Manafort opened the door to it by claiming confusion and oversight.
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                                       Respectfully submitted,

                                       ROBERT S. MUELLER, III
                                       Special Counsel

Dated: August 7, 2018                  /s/

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of August, 2018, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:

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